Case 9:18-cv-81640-DMM Document 44 Entered on FLSD Docket 02/05/2019 Page 1 of 2



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                             SO UTH E RN D ISTR ICT O F FLO RIDA
                           CA SE N O .18-81589-C V-M lD D LEBR O O K S
                           CA SE N O .18-81640-C V -M lD D LEBR O O K S

  H OM EA W A Y .CO M ,IN C .,

         Plaintiff,



  PALM BEA CH COUN TY ,

         Defendant.
                                      /

  A IR BN B,IN C.,

         Plaintiff,



  COUN TY O F PA LM BEA CH ,

         D efendant.


                      O RD ER FO LL O W IN G SCH ED UL IN G CO NFEREN C E

         THIS CAU SE is before the Court follow ing a Scheduling Conference conducted on

  Febnzary 5,2019. Upon consideration ofthe statem entsofthe Partiesand m y review ofthe record

  asawhole,and forthe reasonsstated in open courq itisORDERED AND ADJUDGED that:

         (1)The Parties being in agreement, Defendant's M otion to Consolidate Cases in
            Homeawaycom,Inc.v.Palm Beach Ctll/nl,CaseNo.l8-8l589-CV-DMM (DE 39)
            isG R AN TED .

         (2)ThePartiesbeingin agreement,Defendant'sM otionto ConsolidateCasesinAirbnb,
            Inc.v.County ofpalm Beach,CaseNo.18-81640-CV-DMM (DE 38)isGRANTED.
Case 9:18-cv-81640-DMM Document 44 Entered on FLSD Docket 02/05/2019 Page 2 of 2



          The Clerk ofCourtshallCONSOLIDATE CaseNo.18-81640-CV -DM M into Case

          No.18-81589-CV-DM M .

       (3)TheClerkofCottrtshallADM INSITRATIVELY CLOSE CaseNo.18-81640-CV-
          DM M and DENY AS M OOT al1pending m otionsin thatm atter.

        (4)A1lfuturefilingsshallbemadeunderCaseNo.18-81589-CV-DM M only.
        (5)ThePartiesSHALL RESPOND tothisOrderonorbyFebruary15,2019,informing
           theCourtoftheirposition onthepossibilityofproceedinginthiscaseon anaccelerated

           schedule,underwhichthePartieswillforegopreliminary motionsandproceed directly

           to summaryjudgmentmotions. lfthePartiesare in agreementthatthey can proceed
           on an accelerated schedule,the Parties should also include (1)a proposed briefing
           schedule,including a proposed date f0roralargumenton the summary judgment
           motions,and(2)an indication ofwhetherthePartiescan stipulatetoundisputedfacts
           forpurposesofsummaryjudgmentmotions.
        (6)Defendant'sM otiontoJointhePalm BeachCountyTaxCollector,ArmeGannon,asa
           Necessary and lndispensable Party (Case No. 18-81589-CV-DM M DE 26) is
           DENIED . 1find thatthe Palm Beach Cotmty Tax Collector isnotan indispensable

           party. However,if the Tax Collector wants to participate in this suit,l would be

           nmenableto allowing perm issiveintervention.

        SIGNED in Cham bersin W estPalm Beach,Flodda,this           ay of ebruary,2019.


                                                                                          & v'




                                                       LD M .M ID D LEB ROO K S
                                                 UN ITED STA TES D ISTRICT JU D GE
        Counselofrecord
